                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI

 FATIMAH TUGGAR,                                )
                                                )
                        Plaintiff,
                                                )
 v.                                             )       Case No. 4:20-cv-00781
 KANSAS CITY ART INSTITUTE,                     )
                                                )
                        Defendant.              )


            DEFENDANT’S PARTIAL RULE 12(b)(6) MOTION TO DISMISS


       COMES NOW Defendant Kansas City Art Institute (“KCAI”), by and through the

undersigned counsel, and pursuant to FED. R. CIV. P. 12(b)(6), respectfully moves this Court for

an order dismissing Counts I and II of Plaintiff’s Complaint. As set forth more fully in the

accompanying Memorandum of Law In Support, which is incorporated herein by reference,

Plaintiff’s claims under Missouri’s Workers’ Compensation Law have no merit as a matter of law

and fail to state a claim upon which relief may be granted.

       WHEREFORE, for the above and foregoing reasons, Defendant Kansas City Art Institute

respectfully requests that this Court GRANT its motion, dismiss Counts I and II of Plaintiff’s

Complaint, award KCAI its fees and costs in defending against these claims, and award such other

and further relief as is just and proper under the circumstances.




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                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 6th day of October, 2020, the foregoing
document was served via the Court’s electronic filing system, with notice to be sent electronically
to the following:

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                                                     /s/ Melody L. Rayl
                                                     Attorney for Defendants




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